                                 UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF WISCONSIN
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                    SUPPLEMENTAL RECORD TRANSMITTAL LETTER

                                              December 16, 2020

Mr. Gino J. Agnello, Clerk
United States Court of Appeals
Seventh Circuit
219 S. Dearborn St.
Chicago, IL 60604

       RE:    US v Hamzeh
              USCA No.: 19-3072
              USDC No.: 16CR21

Dear Mr. Agnello:

       Enclosed herewith please find the supplemental record on appeal in connection with the above-
referenced case consisting of:

       ( )    Volumes of pleading(s)
       (1 )   Loose pleading(s) docket number 332 sent electronically
       ( )    Volumes of transcript(s)
       ( )    Exhibit
       ( )    Volumes in camera material(s)
       ( )    Other

       Please acknowledge date of receipt of the above-referenced materials on the enclosed copy of this letter.

                                                             Very truly yours,

                                                             GINA M. COLLETTI
                                                             Clerk of Court

                                                             By: D. La Brie
                                                             Deputy Clerk, Appeals

Enclosure
cc:    counsel of record




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